USCA11 Case: 23-11310    Document: 40-1     Date Filed: 08/21/2024   Page: 1 of 5




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-11310
                          Non-Argument Calendar
                          ____________________

       MAX RANDOLPH CHILDS,
       a.k.a. Randy Childs,
                                                     Plaintiﬀ-Appellant,
       versus
       UNITED STATES OF AMERICA,
                                                   Defendant-Appellee.


                          ____________________

                 Appeal from the United States District Court
                    for the Southern District of Alabama
                   D.C. Docket No. 1:20-cv-00373-TFM-N
                          ____________________
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       2                      Opinion of the Court                 23-11310

       Before WILSON, LUCK, and BRASHER, Circuit Judges.
       PER CURIAM:
             Randy Childs appeals the district court’s judgment finding
       Childs contributorily negligent, barring recovery in this Federal
       Tort Claims Act suit. Because the district court’s finding of contrib-
       utory negligence was not clearly erroneous, we affirm.
                                      I.

              Childs sued the United States under the Federal Tort Claims
       Act, alleging a federal employee negligently injured Childs by hit-
       ting him with his car. The district held a bench trial and received
       evidence, including a video recording of the incident.
              The bench trial record establishes that on July 12, 2017,
       Childs, a trucker, stopped at the Creek Travel Plaza in Escambia
       County, Alabama, to buy a bottle of water. On exiting the store, he
       saw Tribal Officer James Dean in his police car next to the curb in
       front of the plaza. Childs began to walk across the parking lot, look-
       ing left to wave at two of the plaza employees. As Childs looked
       away, he crossed directly in front of the police car to his right,
       which rolled forward and struck Childs.
              The district court held that Childs could not recover for his
       injuries. The district court found that “after having looked at the
       video and heard [Childs’s] testimony . . . [Childs was] contributorily
       negligent.” Because the Federal Tort Claims Act requires federal
       courts to follow state tort law, and because Alabama law bars
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       23-11310                Opinion of the Court                          3

       recovery for contributorily negligent plaintiffs, the district court
       entered judgment in favor of the United States.
                                       II.

               “After a bench trial, we review the district court's conclu-
       sions of law de novo and the district court's factual findings for clear
       error.” Proudfoot Consulting Co. v. Gordon, 576 F.3d 1223, 1230 (11th
       Cir. 2009) (citing Renteria-Marin v. Ag-Mart Produce, Inc., 537 F.3d
       1321, 1324 (11th Cir. 2008)). A reviewing court can find clear error
       only when “on the entire evidence [it] is left with the definite and
       firm conviction that a mistake has been committed.” United States
       v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948).
                                       III.

              Childs challenges the district court’s finding that he was con-
       tributorily negligent, contending that “based on the undisputed ev-
       idence in this case, [Childs] used due care by noting the presence of
       the officer’s vehicle ahead of time, noting that [Officer Dean] was
       stopped, and noting that [Childs] was [in] plain view of Officer
       Dean.” Childs also argues the district court violated Rule 52 “and
       did not state facts on the record which supported its Order Dismiss-
       ing the case.” Both arguments fail.
              The FTCA lets plaintiffs recover in federal court when fed-
       eral employees negligently injure them on the job. 28 U.S.C. §
       1346(b)(1). Liability under the FTCA turns on the law of the state
       where the claim arose—here, Alabama. Id. In Alabama, “[w]hether
       a plaintiff was guilty of contributory negligence is [] a question of
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       4                       Opinion of the Court                    23-11310

       fact.” Foster &amp; Creighton Co. v. St. Paul Mercury Indem. Co., 88 So. 2d
       825, 832 (Ala. 1956) (quoting Ziraldo v. W.J. Lynch Co., 6 N.E.2d 125,
       127 (Ill. 1936)). A plaintiff is contributorily negligent if he “failed to
       exercise reasonable care.” Hannah v. Gregg, Bland &amp; Berry, Inc., 840
       So. 2d 839, 861 (Ala. 2002). Pedestrians have no per se duty to look
       both ways before crossing the street, “but what is due care in this
       regard will depend upon the character of the street, the extent of
       its use by vehicles, the kind of vehicles that frequent it, and upon
       the locus of the attempted crossing.” Adler v. Martin, 59 So. 597, 603
       (Ala. 1912).
              Childs argues he exercised due care because he saw Officer
       Dean’s car stationary “5-6 seconds before he stepped off the curb,”
       but we cannot say the district court clearly erred in rejecting this
       testimony as establishing due care. The surveillance footage shows
       that Childs did not look both ways before crossing the street in a
       busy lot and stepped directly in front of the police car. Rest stops
       are transient places where cars often drive in and out. The district
       court did not clearly err in determining that a person “exercis[ing]
       reasonable care” would have been on the lookout for a moving ve-
       hicle. Hannah, 840 So. 2d at 861. We thus do not have a “definite
       and firm conviction” that the district court erred in finding Childs
       negligent. U.S. Gypsum Co., 333 U.S. at 395.
              Under Federal Rule of Civil Procedure 52, in a bench trial
       “the court must find the facts specifically and state its conclusions
       of law separately,” which “may be stated on the record after the
       close of evidence or may appear in an opinion.” Fed. R. Civ. P.
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       23-11310                Opinion of the Court                          5

       52(a)(1). The only finding at issue here is contributory negligence,
       and the district court stated its factual finding on that issue: “And,
       after having looked at the video and heard the testimony, I con-
       clude that [Childs was] contributorily negligent.” The court then
       stated its legal conclusion on the issue separately: “And, therefore,
       unfortunately, it bars recovery for [Childs].”
              To the extent Childs argues the district court’s statement
       was inadequate, he overstates Rule 52’s requirements. “The judge
       need only make brief, definite, pertinent findings and conclusions
       upon the contested matters; there is no necessity for overelabora-
       tion of detail or particularization of facts.” Stock Equip. Co. v. Tenn.
       Valley Auth., 906 F.2d 583, 592 (11th Cir. 1990) (internal quotation
       marks omitted) (quoting Fed. R. Civ. P. 52(a) advisory committee’s
       note to 1946 amendment). Although the district court did not need
       to explain precisely how it weighed the evidence, the court noted
       that, although the video made summary judgment a close call,
       Childs’s testimony about his care in stepping in front of the police
       car was unpersuasive.
                                       IV.

              We AFFIRM the judgment of the district court.
